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Attorneys for Plaintiff

                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


THASHA A. BOYD, an individual whose )         CASE NO: __________________
address is 1655 Carrie Farm Lane NW )
Kennesaw, GA 30144                  )
                                    )
                                    )
        Plaintiff,                  )
                                    )
v.                                  )         CIVIL ACTION
                                    )
STEVEN T. MNUCHIN, IN HIS           )
OFFICIAL CAPACITY AS                )
SECRETARY OF THE TREASURY,          )         PLAINTIFF’S ORIGINAL
whose official address is           )         COMPLAINT AND REQUEST FOR
1111 Constitution Avenue NW         )         DECLARATORY JUDGMENT,
District of Columbia, DC 20224      )         INJUNCTIVE RELIEF,
                                    )         AND DAMAGES
        Defendant.                  )
                                    )


                 PLAINTIFF’S ORIGINAL COMPLAINT AND
      REQUEST FOR DECLARATORY JUDGMENT, INJUNCTIVE RELIEF AND
                               DAMAGES
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                                  I. PRELIMINARY STATEMENTS

       1.      Plaintiff Thasha Boyd is a Muslim resident of Georgia. She was employed by the

Internal Revenue Service (“IRS”) from November 2012 to September 18, 2016. Plaintiff was

subjected to religious discrimination, and, after reporting such discrimination, retaliation.

       2.      Plaintiff brings this action pursuant to Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000e et. seq. (“Title VII”) for discrimination based on religion, and retaliation for

engaging in protected activity.

                               II.     JURISDICTION AND VENUE

       3.      This is a civil action brought under Title VII of the Civil Rights Act of 1964;

therefore, this Court has subject matter jurisdiction over this action, which is appropriately

brought under 42 U.S.C. §2000e-(5)(f)(3).

       4.      The United States District Court for the District of Columbia is an appropriate

venue under 42 U.S.C. §2000e-(5)(f)(3), because it is where Defendant has its principal office.

                                           III.    PARTIES

       5.      Plaintiff Thasha Boyd is a resident of Kennesaw, Georgia. Boyd was employed as

a Contact Service Representative with the IRS from November 5, 2012 to September 18, 2016.

Boyd was subjected to religious discrimination and retaliation in violation of Title VII of the

Civil Rights Act of 1964. Plaintiff was constructively discharged from her position with the IRS

due to harassment and discrimination.

       6.      Defendant Steven T. Mnuchin is sued in his official capacity as Secretary of the

Treasury. The Internal Revenue Service (“IRS”) is a bureau of the Department of Treasury and is

also a government employer. The Department of Treasury has continuously employed over 15

employees during the current and preceding calendar year.
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                                  IV.     STATEMENT OF FACTS

       7.      In November of 2012, Plaintiff began working for the IRS as a Contact Service

Representative for the Wage & Investment, Accounts Management division of the IRS branch in

Chamblee, Georgia.

       8.      Beginning in December of 2015, she was subjected to multiple instances of

unlawful discrimination, on the basis of her religion, and in retaliation for her protected activity of

opposing religious discrimination and her related EEO complaints.

       9.      This discrimination and harassment continued even when she was moved to another

team in the same office in February of 2016. This hostile and unlawful treatment ultimately

resulted in her constructive discharge in September of 2016.

       10.     Plaintiff sincerely practices her Islamic faith and adheres to her own beliefs, but

was uncomfortable specifying her Muslim religion to her employer, for fear of discriminatory

treatment. Therefore, Plaintiff described her religious beliefs to her employer as being a “non-

Catholic, non-Christian” believer in God.

       11.     The discrimination against her began after she declined to participate in, and/or

expressed discomfort with, several specifically Christmas-oriented office events which were

described and presented as mandatory.

       12.     During a team meeting on December 3, 2015, Plaintiff’s supervisors, Pamela

Weems-Baker and Patricia Procope, became upset after one of Plaintiff’s co-workers expressed a

desire not to participate in an office-wide “Secret Santa” activity the supervisors had just described,

during which each team member would be expected to hang a Christmas stocking at their cubicles.
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        13.     In response to this, Plaintiff expressed that “Not everyone is a Christian or a

Catholic, we live in a diverse world, and if someone expresses discomfort in participating in a

particular event, then let it go, let it go.”

        14.     Despite the discomfort Plaintiff and others openly expressed about required

Christmas activities, Weems-Baker continued to make plans for a team “Christmas Dinner” to take

place on December 22, 2015.

        15.     Weems-Baker also told the team that if anyone would like to pay Procope for the

Christmas stockings that she purchased for everyone, they should see her, and that the Secret Santa

exchange would still occur for those who were willing to participate.

        16.     On December 4, 2015, Plaintiff informed Weems-Baker that she put in a transfer

request, and she was told to speak with the department manager Vanessa Gibson.

        17.     Gibson informed Plaintiff that she needed to file a written request for a transfer,

with her allegations, including her belief that “whether or not we participated in certain team events

that were contrary to our culture and/or religious beliefs were being used against us in our

evaluations.”

        18.     At a subsequent team meeting on December 9, 2015, it was announced that there

was a mandatory holiday “cookie exchange” at the Town Hall meeting that would take place on

December 17, 2015. Each team was required to design a table and either bake or purchase 10 dozen

cookies.

        19.     Weems-Baker informed the employees that their participation in this required event

would become a part of their employee evaluations (“CJEs”).

        20.     Plaintiff was given the distinct impression by Weems-Baker and Procope that she

would not be viewed as a “team player” if she chose to not participate in these holiday events.
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          21.    On December 11, 2015, Weems-Baker demanded a list of items each employee

would bring to the Christmas Dinner that the team was expected to attend later that month.

          22.    Plaintiff reasonably believed, based on Weems-Baker’s reactions to opposition to

the Secret Santa and Christmas stocking discussions, that there would be both formal and informal

workplace repercussions for those who chose not to participate in these planned holiday events.

          23.    On December 14, 2015, Plaintiff brought in decorations for the mandatory

Christmas cookie exchange, because Weems-Baker had made it clear that if Plaintiff did not

adequately participate in these Christmas events it would negatively impact Plaintiff’s CJE rating.

          24.    As a result, Plaintiff was forced to acquiesce to activities that conflicted with her

clearly expressed and sincerely held religious beliefs, in an effort to avoid a negative performance

review.

          25.    Weems-Baker asked Plaintiff about whether she planned to bring anything for the

team Christmas Dinner.

          26.     After Plaintiff informed her that she would be bringing sodas and juice, Weems-

Baker appeared visibly disappointed that, because Plaintiff was contributing, she would not be

able to write her up for non-participation.

          27.    Shortly before December 14, 2015, Plaintiff discovered a Christmas stocking

hanging on her cubicle, which she had not requested and in which she had already expressed she

was unwilling to participate for religious reasons.

          28.    Plaintiff decided she could no longer acquiesce in activities conflicting with her

expressed and sincere religious beliefs. Therefore, Plaintiff quietly exercised her right to remove

the stocking from her cubicle, in accordance with her expressed and sincere religious beliefs.
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       29.     On December 14, 2015, Weems-Baker informed Plaintiff that “witnesses” had seen

her dump the Christmas stocking, which Procope had purchased for Plaintiff, into the trash, and

that Plaintiff should have returned it instead of throwing it away.

       30.     Weems-Baker threatened to write up Plaintiff for standing by her previously

expressed religious beliefs and resulting choice not to display a Christmas stocking at her cubicle.

       31.     Plaintiff told Weems-Baker that she did not ask Procope to purchase the Christmas

stocking for her, and that if Weems-Baker wanted to write her up for removing the Christmas

stocking then she needed to do so, because Plaintiff then felt she “should have filed a complaint

about this long ago.”

       32.     Plaintiff believes that following these incidents her performance was unduly

scrutinized. Team leads opened up several of her closed cases in order to retroactively seek out

errors for her previous work. Plaintiff believes these actions were in retaliation for her expressed

discomfort with and unwillingness to participate in required Christmas activities.

       33.     For instance, on December 18, 2015, Weems-Baker wrote Plaintiff up for an

obscure rule on one of Plaintiff’s previously closed cases. Weems-Baker admitted she needed

help, as a thirty-year employee, in order to identify the “mistake” made by Plaintiff, a three-year

employee.

       34.     Weems-Baker then failed to provide Plaintiff with the proper procedure to rebut the

error, despite Plaintiff’s request for it and internal procedures allowing for rebuttal.

       35.     On December 22, 2015, the team Christmas Dinner took place, and Weems-Baker

insisted on praying at the dinner. Weems-Baker insisted on this religious activity at this and any

event where the team shared a meal. Weems-Baker’s prayer on this date referred to “Christ Jesus

our lord” and made numerous other Christian-specific references.
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       36.     On this same day, Plaintiff contacted her EEO counselor.

       37.     Plaintiff filed a formal EEO complaint on February 3, 2016.

       38.     Plaintiff was moved to a new team at her branch on February 19, 2016.

       39.     Following her move and the filing of a formal EEO complaint, Plaintiff was

subjected to substantial retaliatory behavior from her supervisors and several members of her team.

       40.     Plaintiff’s work was more heavily scrutinized than it had been previously and than

the work of her peers was, and on several occasions she was criticized for minute errors for which

others were not criticized.

       41.     Additionally, Plaintiff was not giving the opportunity to rebut these errors, nor

offered any constructive feedback or road to improvement, contrary to internal standard practices.

       42.     Although she submitted a proper request for leave for the month of June, Plaintiff’s

manager did not timely reply.

       43.     Plaintiff was later accused of taking leave for this time without calling in or

following the proper procedures to obtain approval, despite her documented attempts to do so.

       44.     During on the job training (OJT), Plaintiff was given insufficient time for training

despite her requests for more, and was subjected to higher standards than her co-workers were.

       45.     On May 16, 2016, Plaintiff received a performance appraisal that had been

retroactively lowered from 3.4 to 3.0. She recalled that the first appraisal that she was given to sign

for this review period reflected a 3.4 rating, and she signed that. Several days later, however,

Plaintiff was asked to sign the evaluation a second time, which then reflected a rating that had been

lowered to 3.0 without explanation.

       46.     Plaintiff believes that the lowered rating shows evidence of direct retaliation for her

protected activity.
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        47.      Plaintiff’s work environment, employee evaluations, and the feedback that she

received on her work all suffered following her refusal to participate in mandated religious

activities.

        48.      On September 9, 2016, Plaintiff sent an e-mail to her supervisor in an attempt to

bring to her attention the harassing behavior that Plaintiff was experiencing.

        49.      Plaintiff’s supervisor was unwilling to allow her to use her worktime to address

workplace complaints and harassment, and responded by informing Plaintiff that she was not

permitted to send e-mails of a ‘personal nature’ at work and that she was further not granted

administrative time for this kind of activity.

        50.      On September 18, 2016, due to the consistently deteriorating work conditions she

faced, Plaintiff felt she had no reasonable option but to leave her position with the Department of

the Treasury.

        51.      The final agency decision of the Department of the Treasury became final on

August 17, 2017 as to IRS-16-0603 and IRS-16-0703.

        52.      Plaintiff received an Order of Dismissal on her complaints contained in IRS-16-

0169 on October 2, 2017.

        53.      This suit is timely filed.

        54.      Plaintiff seeks redress for the discrimination, disparate treatment, constructive

discharge and retaliation that she suffered as a result of expressing and abiding by her sincere

religious beliefs, in violation of Title VII of the Civil Rights Act of 1964.

                                     V.       CLAIMS FOR RELIEF

              a. Count I. Discrimination in Violation of Title VII of the Civil Rights Act of
                 1964

        55.      Paragraphs 1-54 are incorporated by reference as if fully set forth herein.
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       56.     Plaintiff belongs to a protected class, and was subjected to discrimination on the

basis of her clearly expressed, sincerely held religious beliefs.

       57.     The retaliation that she suffered as a result of her protected activity (refusing to

participate for religious reasons, and the subsequent filing of her EEO complaints) is in direct

violation of Title VII of the Civil Rights Act of 1964.

       58.     The IRS took adverse action against Plaintiff by requiring her to participate in

multiple Christian-based activities in the workplace.

       59.     The IRS also took adverse action against Plaintiff when, subsequent to her

expressing discomfort with these activities, it lowered her performance appraisal score without

explanation, accused of her of taking leave without permission, made it difficult for Plaintiff to

obtain necessary training, and subjected her work and workplace behavior to unnecessary, and

sometimes retroactive, scrutiny and criticism.

       60.     These negative employment consequences were all a direct result of Plaintiff’s

religious objections to the activities described above.

       61.     Upon information and belief, other employees who participated in these Christmas-

related activities without objection did not suffer the same adverse employment effects and were

able to do their work free from the increased level of scrutiny and monitoring applied to Plaintiff.

       62.     The IRS has no legitimate reasons why these actions were taken against Plaintiff.

       63.     Prior to the outset of the discriminatory conduct, the quality of Plaintiff’s work had

not been called into question and she did not have any trouble working effectively in a team setting.

       64.     Although the IRS represented in its internal investigation that its conduct was not

discriminatory and denied subjecting Plaintiff to any adverse employment action on the basis of
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her religion, the reasoning offered by way of explanation in each instance is pretextual and does

not adequately otherwise explain the actions taken.

       65.      No statements made by the IRS offer any lawful explanation for the requirement

that employees participate in Christmas-oriented events or suffer repercussions, both formal and

informal, for not doing so.

       66.      Plaintiff’s work environment, evaluations and reputation suffered only after she

refused to participate in activities oriented toward Christian-focused activities, which Plaintiff

expressed were contrary to her own sincerely held religious beliefs.

       67.      Based on the foregoing, the IRS unlawfully discriminated against Plaintiff on the

basis of her religion in violation of 42 U.S.C. § 2000e et. seq.

       68.      Plaintiff suffered damages as a result of Defendant’s unlawful conduct, including a

lowered performance evaluation score; hostility from her coworkers and supervisors; difficulty

obtaining necessary training; unfounded accusations of taking leave without permission;

consistently heightened scrutiny; and unfair and unwarranted criticism as applied to her work

product.

       69.      As a result of these retaliatory actions, Plaintiff was constructively discharged from

her position with the IRS. Although she was not formally terminated, her work environment

became unreasonable and intolerable due to the actions of her supervisors and co-workers.

       70.      Plaintiff has satisfied all conditions precedent for bringing suit under Title VII.

             b. Count 2: Retaliation in Violation of Title VII of the Civil Rights Act of 1964

       71.      Paragraphs 1-70 are incorporated by reference as if fully set forth herein.

       72.      Based on the foregoing, the IRS retaliated against Plaintiff by unreasonably

lowering her appraisal rating without explanation; subjecting her work and workplace behavior to
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unnecessary retroactive criticism and hostility; making it difficult for her to obtain necessary

training; unjustly accusing her of taking leave without adequate permission, when she had

followed proper procedures; and ultimately constructively discharging her by making her work

environment so hostile it became intolerable.

       73.     The pattern of harassment that Plaintiff was subjected to in retaliation for her

protected activity resulted in unlawful constructive discharge in violation of Title VII.

       74.     Plaintiff’s workplace conditions became intolerable when it became clear to her,

through the unnecessarily critical actions of her supervisors and coworkers and her supervisor’s

dismissal of her attempt to bring these events to her attention via e-mail, that she would be unable

to continue her work with the IRS under reasonably acceptable conditions.

       75.     The conditions of Plaintiff’s employment were adversely affected by her

employer’s retaliatory actions, including a lowered appraisal score; an increasingly hostile work

place, which ultimately led to her constructive discharge; and criticisms and obstacles being placed

in the way of her ability to effectively do her job without interference. Each of these actions by the

IRS affected Plaintiff’s ability to operate within her workplace effectively and free from

discrimination.

       76.     In retaliating against Plaintiff, the IRS acted with malice and reckless disregard for

her federally protected rights.

       77.     Plaintiff has satisfied all conditions precedent for bringing suit under Title VII.
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                                  VI.    PRAYER FOR RELIEF

WHEREFORE, Plaintiff Thasha Boyd prays that this court enter an order:

   (a) Clearing any negative references or actions from Plaintiff’s disciplinary file;

   (b) Enjoining the IRS from discriminating in the future on the basis of an employee’s

       religious beliefs;

   (c) Enjoining the IRS from retaliating in the future against employees who utilize their rights

       to oppose such discrimination;

   (d) Enjoining the IRS from requiring employees to participate in religious-based activities, or

       activities which are known to conflict with the religious beliefs of the employees;

   (e) Awarding all lost wages and other economic damages to which the Plaintiff is legally

       entitled;

   (f) Awarding punitive damages caused by the IRS’ acts of discrimination, which were taken

       with malice and with reckless disregard for Plaintiff’s federally protected rights;

   (g) Awarding Plaintiff her reasonable attorney fees and costs of this action; and

   (h) Awarding such other relief as this Court deems appropriate.
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Respectfully submitted this 17th day of November, 2017


                                                         Respectfully submitted,




                                                         /s/ Charles D. Swift
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